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                      Exhibit M
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      n



                                            REGULATION S GLOBAL NOTE
      n
                       UNLESS THIS CERTIFICATE IS PRESENTED BY AN AUTHORIZED
          .,,.··,·.    REPRESENTATIVE OF THE DEPOSITORY TRUST COMPANY ("DTC") TO THE
                       ISSUER OR ITS AGENT FOR REGISTRATION OF TRANSFER, EXCHANGE OR
                       PAYMENT, AND ANY CERTIFICATE ISSUED IN · CHANGE FOR THIS
                       CERTIFICATE OR ANY PORTION HEREOF IS RE    TERED IN THE NAME OF
                       CEDE & CO. OR IN SUCH OTHER NAME AS IS RE      STED BY AN
                       AUTHORIZED REPRESENTATIVE OF DTC .            · AYMENT IS MADE TO
                       CEDE & CO. OR TO SUCH OTHER ENTITY         Q ~TED BY AN
                       AUTHORIZED REPRESENTATIVE F.CEDE &         __    TRANSFER, PLEDGE
                       OR OTHER USE HEREOF FO              THERWISE ·. OR TO ANY
  n                    PERSON OTHER THAN DT                 ··THEREOF I ·. ONGFUL
                       INASMUCH AS THE REGIS                  REOF, CED     CO., HAS AN
                       INTEREST-HEREIN.

                                                                REGULATIONS       BAL NOTE
                                                              ' ENCY AGREEMENT REFERRED
                                                                .    Y NOT BE EXCHANGED, IN
                                                                   ,.JN THE NAME OF ANY

 0




 0                                                  ..   .-
                             OTE (OR ITS PREDECESSpR) WAS ORIGINALLY ISSUED IN A
                              CTION EXE1\.1PT FROM      GISTRATION UNDER THE UNITED STATES
                       SEC ~ \. S ACT OF 1933, AS       NDED (THE "SECURITIES ACT"), AND MAY
                       NOT BE O •· -*--~D, SOLD, PLE , ED OR OTHERWISE TRANSFERRED IN THE
                       UNITED STAIB • R TO ANY . S. PERSON EXCEPT PURSUANT TO AN.
 :.)
                       AVAILABLE EXE .,._, .__      M THE REGISTRATION REQUIREMENTS OF
                       THE SECURITIES ACT AND ALL APPLICABLE STATE SECURITIES LAWS.
                       TERMS USED ABOVE HAVE THE MEANINGS GIVEN THEM IN REGULATION S
                       UNDER THE SECURITIES ACT.




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                   REGISTERED
    I)             NO. R-1                                                                                US DOLLAR
                   CUSIP P9395PAA9
         _.-·,.

                                        BO LIVARIAN REPUBLIC OF VENEZUELA

                                                     US$300,000,000
                                             13.625 per cent. Notes due 2018
                                          Common Code [D] ISIN USP9395PAA95


                   ~pecified Currency: US Dollars

                   Stated Maturity: August 15, 2018

                   Issue Date: September 27, 2001

                   The Bolivarian Republic of Vene                  ~in called the "Issu ' or "Republic"), for
                   value-received, hereby promises pay tot · Depository Trust ·. mpany ("DTC"), or its
                   registered assigns, the principal      ount set rth above in the Spe · 1ed Currency set
                   forth above on the Stated Matu . and to p interest thereon fro he date hereof or
                   from the most recent Interest Pay " t Date ·s defined below) tow ·· · interest has been
                   paid or duly provided for, semi-annua '·· · ·p .,' ears on February 15 and August 15 in each
0                  year, commencing February ··,            _(ea · ).11 be an "Interest Payment Date"), at the
                   rate of 13 .625% per annu '. until the · · cipa         i;eof is paid or made available for
                   payment. The interest s       ·· ble, and pu ·. tually · ·· or duly provided for, on any
                   Interest Payment Date         as provided in · .~ Fiscal Agency Agreement hereinafter
                   referred to be paid to the rson in whose n : e this Note (or one or more predecessor
                   Notes · egistered at the c · e of business           the Regular Record Date (as defined in the
()
                   Term. nd Conditions) next p ceding such . erest Payment Date;provided, however,
                   that in rest payable at maturity ··· 1.._be pa).: ·e to the person to whom principal shall be
                   payabl and providedfurther, how --                ·if the Issue Date is after a Regular Record
                   Date an before the next succeeding Interest Payment Date, the first payment of interest
                   shall be     able on the Interest P, )nent Date following the next succeeding Regular
u                  Record Da o the person in wh ~· name this Note (or one or more predecessor Notes) is
                   registered at t close of busine        n such next su~ceeding ~egular Record Date.

                   Any such interest no ·,,...      ally paid or duly provided for will forthwith cease to be
                   payable to the registered Holder on sueµ Regular Record Date and may either be paid to
u                  the person in whose name this Note (or one or more predecessor Notes) is registered at
                   the close of business on a special record date for the payment of such interest to be fixed
                   by the Issuer, notice whereof shaH be given to registered Holders of Notes of this Series
                   not less than 10 days prior to such special record date, or be paid at any time in any other
                   lawful manner not inconsistent with the requirements of any securities exchange on
                   which the Notes of this Series may be listed, and upon such notice as may be· required by
                   such exchange.




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                                                                                                 -/·~
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                  THIS NOTE SHALL BE GOVERNED BY, AND INTERPRETED IN
                  ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK
                  WITHOUT REGARD TO PRINCIPLES OF CONFLICT OF LAWS EXCEPT
     ....··,·.    THAT ALL MATTERS GOVERNING AUTHORIZATION AND EXECUTION
                  OF THIS NOTE BY THE ISSUER SHALL BE GOVERNED BY THE LAWS OF
                  THE BO LIVARIAN REPUBLIC OF VENEZUELA.
(1                Reference is hereby made to the Terms and Conditions of this Note set forth in Schedule
                  I hereto, which Terms and Conditions shall for all purposes have the same effect as if set
                  forth at this place.
                                                                                 "i\
                  All terms used in this Note that are defined 1i. ,;;chedule I hereto (as so amended or
                  ·supplemented) or in the Fiscal Ag cy Agree ept, including the exhibits thereto, shall
                  have the meanings assigned to the          ·         \
                                                                                         ·;\··
                  Unless the certificate of au                                                   :. een executed by the Fiscal Agent by
                  the manual signature of                                                           · 1cers,
                                                                                                      .      this Note shall
                                                                                                                         .
                                                                                                                             not be valid or
                  obligatory for any purp
()
                  IN WITNESS WHE                                          suer has caused thi ·nstrument to be duly executed.

                  Dated:

0



                                                                                                                     /l. )"1 "V£""t- Aeos--rn-
                                                                                                                    Di {2..t::Ct'O J2... Of pu f>Ll' C- f{ JJ fti\J u
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                    his is one of the Notes
                                         I
                                            of the series designated therein
                                                                      •   ..
                                                                             referred to in" the
                                                                                               •
                                                                                                 y.rithin- · . .
                     ntioned Fiscal Ag ·: cy Agreement.                ··    · ·          ·.         ·. . ·.
u                   !
                                           7
                                           /     J

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                                                                                                                                           •




                                                                 ···                   BANKERS TRUST COMPANY
                                                                                         · as Fiscal Agent
                                                                                                                       •· ..   ~ ..:.~ J       •




u                                                                                      By:V~f~
                                                                                         Authorized Officer ·


                                                        ... -. : •. - .: ..

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n
                                                                                                   SCHEDULE I

                              TERMS AND CONDITIONS OF THE NOTES
      General

n     Each Note is one of a duly authorized issue of 13.
      Venezuela, to be issued pursuant to a Fiscal Agency
                                                          % Notes due 2018 of the Bolivarian Republic of
                                                              eement (the "Fiscal Agency Agreement"), dated as
      of July 25, 2001, among the Republic, Banco Central de     ezuela, Deutsche Bank AG and Bankers Trust
      Company, as fiscal agents and principal paying agents (the ·      Agent") and the other parties thereto.
      Capitalized terms used but not defined here~ s                    gs given to them in the Fiscal Agency
      Agreement.

n     The holders of the Notes will be entitled to the benefits of, be bound t,      d be deemed to have notice of,
      all the provisions of the Fiscal Age11 Agreement. Copies of the Fisc            ency Agreement are on file and
      may be inspected at the princiP.                Fiscal Agent in The City of         York and at the offices of
      the paying agents specified                        herein to the Fiscal Agency · ·eement and no provision
      of this Note or of the Fiscal                     shall alter or impair the obligatio of the Republic, which
      is absolute and unconditio                          of, and interest on, this Note at the times, place and rate,
n     and in the coin and currency,

      Form and Denomination
     The Notes are issuable in fully re ered fo          'thout coupons, in denominations of $10,000 or any
     amowit in excess thereof which is an integral m            f $1,000 (an "authorized denomination"). The
     Notes, and transfer thereof, shall be registered as provi     ·.  e_r "Replacement, Exchange and Transfer"
0    below and in the Fisc A              reement. A person in who           e a Note shall be registered may (to the
     fullest extent permitt                - d at all times, by all persons and for all purposes as the absolute
     owner of such Note      ardless of any no · -q,f ownership, theft or loss or of any writing thereon.

      Status
                                                           -~..
      The Notes constitute        ·c External Indebtedness ~e Republic and (subject to "Negative Pledge"
(J    below) are direct, uncon       nal, unsecured and gen      obligations of the Republic and shall at all times
      rank pari passu and withou         preference among         elves. The payment obligations of the Republic
      under the Notes and Coupons            save for such e    tions as may be provided by applicable legislation
      and subject to "Negative Pledge"                        ank at least equally with all its other payment
      obligations relating to External Public De             ed below). The Republic hereby pledges its full faith
               ·t for the due and pwictual payment of all amounts due in respect of the Notes.
u
      Ne
               as any Note remains outstan · g (as defined in the Fiscal Agency Agreement), if any Lien on Oil
      or Ac      ts Receivable (other than ermitted Lien) is created by the Republic, Banco Central or any
      Gove            Agency to secure E        Public Debt, the Republic will cause such Lien to equally and
      ratably secur       bligations of     epublic under the Notes. For purposes of the foregoing, the
u     following temlS               ·     ~meanings:

      "Accounts Receivable" means accowits payable to the Republic, Banco Central or any Governmental
      Agency in respect of the sale, lease or other provision of Oil, whether or not yet earned by performance or
      scheduled to be documented in the future pursuant to a contract in existence on the relevant date.

      "Bond Currency" means any of the following currencies: Euros, Deutsche marks, Pounds sterling, U.S.
      dollars, Swiss francs, Italian lire or French francs.



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                 "Debt" means, with respect to any Person, the following (whether outstanding on the date hereof or at any ·
                time thereafter): (a) all indebtedness of such Person for borrowed money, or for the deferred purchase price
n             . of property or services if and to the extent that the obligation to pay such purchase price is evidenced by an
                instrument; (b) all reimbursement obligations of such Person under or in respect of letters of credit or
    .,;·,·.
                banker's acceptances; (c) all obligations of such Person to repay deposits with or advances to such Person;
                (d) all obligations of such Person (other than those specified in clauses (a) and (b) above) evidenced by
                bonds, debentures, notes or other similar instruments; and (e) all direct or indirect guarantees, endorsements
                and similar obligations of such Person in respect of, and all obligations (contingent or otherwise) of such
                Person to purchase or otherwise acquire, or otherwise to assure a creditor against loss in respect of,
                indebtedness or obligations of any other Perso .s cified in clause (a), (b), (c) or (d) ·above.
                                                                    ·~
               "Export" means any sale of Oil by any Person, incl             y sales to Persons owned or controlled, directly
               or indirectly, by any such seller, (i) in connection with        such Oil is transported from the Republic or
               from storage facilities for Oil held for Export b                    outside the Republic and (ii) which has
               not been preceded by any sale of such Oil w                              rt hereunder.

               "External Debt" means any Debt which is denominated or payable,             hich at the option of the holder
               thereof may be payable, in a curren · . r than Bolivares.

               "External Public Debt" means,                        emal Debt of the public sector entities referred to in
               Title I of the Organic Law of                       ·stration of Public Sector of the Republic, as in effect on
               Septemoer 18, 2001, including·                        d other amounts payable in Bolivares in connection ·
               therewith.

               "Financing Plan" means the Republic of             , a 1990 Financing Plan dated June 25, 1990, distributed to
               the international banking community.

0              "Governmental Agency" .




               "Lien" means any lien, p                                   est, deed of trust, charge or other encumbrance on
               or with respect to, or any pr                             ch has the practical effect of constituting a security
               interest with respect to the pa                           with or from the proceeds of, any asset or revenues of
               any .

                     means hydrocarbons, their products and derivatives, in each case produced in the Republic, provided,
                     er, that "Oil" shall not incl de Orimulsion®, products from Orimulsion®, natural gas, coal and
                      emicals.       ·                    ·                                          ·- ·

                                                      time, the value (determined in accordance with the second sentence of
                                                  . ng assets owned by Banco Central at such time to the extent
               denominated in uruts             ge other than Bolivares (excluding from such assets any assets which are
               subject to a Lien): (a) currencies other than Bolivares (excluding special drawing rights in the International
               Monetary Fund (the "IMF'') and all funds received from the IMF); (b) deposits and credit balances with
               commercial financial lending institutions, central banks of non-Venezuelan governments or multilateral
               lending institutions which are payable in any of the Bond Currencies or currencies that. are readily
               convertible into any of the Bond Currencies; and (c) marketable bonds, notes, certificates of depo~it and
               other obligations issued by commercial financial institutions, non-Venezuelan governments or multilateral
               lending institutions which are payable in any of the Bond Currencies or currencies that are readily
               converUble into any of the Bond Omencies. For the purposes of this definition: (i) the value of an amount
               of any currency other than Bolivares at any time is the equivalent in U.S. dollars of such amount at such
               time determined in accordance with the consistently applied accounting practices of Banco Central; (ii) the



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          value of a deposit or credit balance referred to in sub-clause (b) above at any time is the equivalent in U.S.
          dollars of the face amount of such deposit or credit balance at such time determined in accordance with the
    n     consistently applied accounting practices of Banco Central; and (iii) the value of a bond, note, certificate of
          deposit or other obligation referred to in sub-clause (c) above at any time is the equivalent in U.S. dollars of
          the fair market value of such obligation at such time determined in accordance with the consistently applied
          accounting practices of Banco Central.

          "Orimulsion®" means a liquid fuel consisting of (i)         atural bitumen of7-10° API, (ii) water and (iii) a
          surfactant which is added to stabilize the bitumen in          ater emulsion.

          "Permitted Lien" means a Lien on Oil or Accounts Receiv            , if at the time of creation of such Lien (the
          "New Lien"):

          .(i)      Operating Reserves are greater than the sum of (a) two \ nths of imports into the Republic of
0                   goods and services (including interest payments with res · to External Public Debt) and (b) two
                    months of principal payments with respect to all of the bon issued to implement the Financing
                    Plan and any other Externa              t held by cornmerci       ding institutions (measured in
                    each case on the basis of i                 .st and principal pa    nts during the preceding six
                    months) (the availability                    'ting Reserves to be    · 1ed by Banco Central);
                                                                  \
          (ii)      the aggregate principal am                    . Public Debt secured by Liens on Oil or Accounts
()                · Receivable (including the                      ebt to be secured by the New Lien and other External
                    Public Debt to be simultaneo         s       y Liens on Oil or Accounts Receivable) paid, due or
                    scheduled to fall due in the curr nt          , .ear, and the aggregate outstanding principal amount
                    of all such External Public Debt schedule           l due in each subsequent calendar year, is in each
                    such year less than an amount equivalent to 17.         f the aggregate revenues from the Export of
                    Oil during the 12-month period preceding the creati           tpe New Lien (the amount of such
0                   External Public Debt         · rtif1ed by Banco Central          e amount of such revenues to be
                    certified by the Rep      ~; an

          (iii)     the aggregate outs                            <:>fall External Public Debt secured by Liens on Oil or
                    Accounts Receivable                                blic Debt to be secured by the New Lien and other
                    External Debt to be si                           ·Liens on Oil or Accounts Receivable) is less than
                    an amount equivalent to                           evenues from the Export of Oil during the 12-
CJ                                                                      Lien (the amount of such External Public Debt to
                                                                     of such revenues to be certified by the Republic),

                 ed that no New Lien will constitute a Permitted Lien if such New Lien is created while there is a
                .~ in the payment of principal of or inter~st on the Notes or on any bonds issued to implement the
                  ing Plan, unless the proceeds of the         cing secured by such New Lien are used to make .or secure
u                 1
                    ., ble basis interest and principal p~ym : ts due with respect to the Notes; provided further that,
                          ding the foregoing, a New Lien        constitute a Permitted Lien if (a) such New Lien arises
          pursuan ,an order of attachment, distraint            imilar legal process arising in connection with court
          proceedin ~ o long as the execution or enfo ment thereof is effectively stayed and the claims secured
          thereby are :-... -~ontested in good faith by         ropriate proceedings, provided that such New Lien is
          released or disc · ·. d..within one year of i        position, or (b) such New Lien arises by operation of law
u         (and not pursuant to ·.           eement)         not been foreclosed or otherwise enforced against the Oil or
          Accounts Receivable to whl .., =#• ·• " Lien applies.

          "Person" means any individual, corporation, partnership, association, joint stock company, joint venture,
          trust, unincorporated organization or any ·other juridical entity, or a sovereign state or government or any
          agency or political subdivision thereof.: ·




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                      "Public External Indebtedness" means any External Debt issued in a public offering or private placement of
                      securities or other instruments of a type offered in capital markets, including, without limitation, any bonds,
                      floating rate notes, commercial paper, certificates of deposit, debentures or other evidence of indebtedness.
           .,-·.·.
                      Interest
                      The Notes bear interest from September 27, 2001 (the "Interest Commencement Date") at the rate of
                      13.625% per annum, payable semi-annually in arrear on February 15, and August 15 of each year,
                      commencing on February 15, 2002. Each Note will cease to bear interest from the due date for redemption
                      unless, upon due presentation, payment of principal is improperly withheld or refused. Where interest is to
                      be calculated in respect of a period which is equal to or shorter than one year, it will be calculated on the
                      basis of a 360-day year, consisting of twelve 30      ~onths.

                      If the Issuer shall fail to redeem the Notes when due,  ·est shall continue to accrue beyond the due date
                      until actual redemption of the Notes but not beyond the         th day after notice has been given by the
                      Fiscal Agent that the funds required for redemptio               ovided to the Fiscal Agent.
                                                                                        ~...

                      Redemption and Purchase
                      Unless the Notes previously are purchased                                  be redeemed at par on August 15,
                      2018.
       n              The Republic may at any time p

                      Payments and Agents                                    '1
                                                                             t
                      The Principal of the Notes will be pa       e           llars against surrender of such Notes at the office of
                      the Paying Agent in The City of New Yo ,pr,              t to applicable laws and regulations, at the office of
                      any paying agent by United States dollar check... it-.. p., or by transfer to a United States dollar account
                      maintained by the holder with, a bank located in Th~,,,_ ··. )-lew York. Payment of any installment of
                      interest on a Note will be maq,e_ to the person in whose n        ~. Note is registered at the close of business
                      on the Regular Record Date · -· ·           .. low) immediately          · .the related Interest Payment Date
                      (as defined on the face ofthe'.Notes). "Re        .Record Date" means, th respect to any Interest Payment
                      Date, the fifteenth day prio    such Interest P       nt Date (whether or not a business day). Payment of
                      such interest will be made a United States dol · heck drawn on a bank in The City of New York
  0                   mailed to the holder at sue older' s registered addi · or, upon application of any holder of at least
                      $1,000,000 principal amo        fNotes to the Paying .N .tin The City of New York not later than the
                      relevant Regular Record Oat r transfer to a United             ~s dollar account maintained by such holder with
                      a bank in The City of New Yo ~..                           . '

                                                                               outstanding, it will maintain a registrar and
 ~)                                 having a specified office in The       New York and, if and so long as the Notes are listed
                                  .mbourg Stock Exchange and the rules of such exchange so require, a transfer and paying agent
                      in Luxem ·. ,rg. The Republic initially has appointed Bankers Trust Company as paying agent and transfer
                      agent for th ptes. Subject to the foregoin : • e Republic shall have the right at any time to tenninate any
                      such appoin ·· t and to appoint any other a nts in such other places as it may deem appropriate upon
                      notice in accor ·, · .with "Notices" below · in accordance with the terms and conditions set forth in the
                      Fiscal Agency Agr ··,. n.t

                      Payments in respect of the No                de in such coin or currency of the United States as at the time
                      of payment shall be legal tender for the payment of public and private debts.

                      In any case where a payment date shall not be a business day at any place of payment, then the relevant
r._)
                      payment need not be made on such date at such place, but may be made on the next succeeding day at such
                      place which is a business day in the applicable jurisdiction, with the same force and effect as if made on the
                      date for such payment, and no additional interest in respect of such payment date shall accrue for the period
                      from and after such payment date.


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                    In acting under the Fiscal Agency Agreement and in connection with the Notes, the Fiscal Agent and
                    paying agent are acting solely as agents of the Republic and do not assume any obligation toward or
                    relationship of agency or trust for or with the owner or holder of any Note except that any funds held by
                    any such agent for payment of principal of or interest on the Notes shall be held in trust by it and applied as
         .,··.".
                    set forth in the Notes and Fiscal Agency Agreement, and shall be segregated from other funds held by it.
                    For a description of the duties and the immunities and rights of the Fiscal Agent and Paying Agent under
                    the Fiscal Agency Agreement, reference is made to the Fiscal Agency Agreement, and the obligations of
                    the Fiscal Agent and Paying Agent to the owners or holders of Notes are subject to such immunities and
                    rights.

                    Any amounts paid by the Republic under         Notes on any date shall be applied in the following order:
                    first, the payment of any fees and expense · ·ng to CSFBi in relation to the Notes; second, to the payment
                    of any interest accrued up to the date of such       ent on any overdue amount under the Notes; third, to the
                    payment of any interest on the principal of the    ··. · provided that such interest is due arid payable at such
     n              date; fourth, to the overdue payment of any princip
                    outstanding principal amount of the Notes, provided
                                                                               ount under the Notes; fifth, to the payment of any
                                                                                · uch principal is due and payable at such date;
                    sixth, to the payment of any other amount du                  '· es.

                    Additional Amounts
                    Any and all payments by the Re                    r. the Notes or in resp          ereof shall be made free and clear of
     n              and without deduction for anr, esent or fil · e taxes, levies, impos                 eductions, charge's or withholdings,
                    and all interest, penalties or     er liabilities       . respect thereto, impo · or levied at any time, excluding
                    (i) in the case of each holder axes imposed measured by its income · pital by the jurisdiction (or any
                    political subdivision or taxin 'uthority of su '.jurisdiction or any organi                  or federation of which such
                    jurisdiction is at any time a m ·ber) under             jaws of which such holder is o          · ed, (ii) in the case of
                    each holder, taxes imposed on o easured b .ts incollle or capital by the jurisdiction (or any political
                    subdivision or taxing authority o            up.s. lion or any organization or federation of which such
                    jurisdiction is at any time a member) in               the principal place of business or residence (as the case may
                    be) of such holder is located, including, witho - · "tation, any jurisdiction in which such holder is, through
                    an office or fixed place of business, deemed to be o                   . iness or maintaining a permanent establishment
                    under any income tax trea                ·       older is so dee · · a result of a change of law in the Republic
                    subsequent to the issue          Notes) an           - ! other taxes im osed by any jurisdiction (or any political
                    subdivision or taxing au       ·ty of such jurisdi · .or any organization or federation of which such
 ()                 jurisdiction is at any time ~ .ember) outside the 'public except such taxes which arise as a result of
                    action taken by the Republic · .such non-exclud _truces, levies, imposts, deductions, charges,
                    withholdings and liabilities bei · erein called'              ·es"). If the Republic shall be required by law to deduct
                    any Taxes from or in respect of an ·-             yabl       der the Notes or in respect thereof to any holder, (a) the
                    Republic shall pay such additional amo                      "tional Amounts") as may be necessary so that after
                    making        :· quired deductions for Taxes (including deductions applicable to Additional Amounts payable
                    under       ·Section (a)) such holder receives an amount equal to the sum it would have received had no such
                    deduc · ns been made, (b) the Republic will make such deductions and (c) the Republic will pay the full
                    amoun educted to the relevant taxing au . ority or other authority in accordance with applicable law.
                              1
                              '-
                    Except :,. therwise provided herein, the public will pay (i) all stamp or other documentary taxes or
                    duties, if ~-~hich may be imposed bY. e Republic, the United Kingdom and the United States of
u                   America or - . te or political subdi       bn thereof or taxing authority therein with respect to the original
                    issue of the Not ·~ "the exchange of· rests in the global Notes for definitive Notes and (ii) all other
                    excise or property ~                     ·1ar levies which arise in any jurisdiction from any payment made
                    hereunder or from the exec           aelivery of, or otherwise with respect to, the Notes, the Fiscal Agency
                    Agreement, the Banco Central Undertaking or any other document or instrwnent referred to herein or in the
                    Fiscal Agency Agreement, excluding (in the case of the preceding sub-clause (ii)) any such taxes imposed
                    by any jurisdiction (or any political subdivision or taxing authority of such jurisdiction or any organization
u                   or federation of which such jurisdiction is at any time a inember) outside the Republic except those
                    resulting from, or required to be paid in connection with, the enforcement of the Notes, the Fiscal Agency
                    Agreement, the Banco Central Undertaking or any such other document or instrument following the.




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                      occurrence of an Event of Default (all such non-excluded taxes, charges or levies described in sub-clauses
                      (i) and (ii) above being herein called "Other Taxes").

                      The Republic will reimburse each holder for the full amount of Taxes or Other Taxes (including without
           ...-·.     limitation, any Taxes or Other Taxes imposed on amounts paid by such holder or any liabilities (including
                      penalties, interest and expenses)) arising therefrom or with respect thereto, whether or not such Taxes or
                      Other Taxes were correctly or legally asserted. Each holder which wishes to claim reimbursement for any
                      such Taxes, Other Taxes or liabilities arising therefrom or with respect thereto will notify the Republic
      ()              (through the Fiscal Agent) of its intention to pay the same as promptly as practicable and, if possible, prior
                      to the date of such payment (such notice to describe such Taxes, Other Taxes or liabilities in reasonable
                      detail). Such reimbursement shall be made within 30 days from the date such holder makes demand
                      therefor.

                     Within 30 days after the date of any payment of Taxes (but in no event later than the date <15 days after the
                     date such Taxes become due), the Republic will furnish to the Fiscal Agent the original (or a certified copy)
                     of a receipt evidencing payment thereof. The · tions of the Republic described in this Section shall
                     survive the payment of the Notes.

                     Whenever there is mentioned, in any conte                         rincipal of or interest on, or in respect of,
                     a Note, such mention shall be deemed to inc                     e · ent of Additional Amounts to the
                     extent that, in such context, Additional Amounts are, were or woul     · ayable in respect thereof pursuant
   C)
                     to the provisions of this Section, and express mention of the payment o     ditional Amounts (if applicable)
                     in any provisions hereof shall not be construed as excluding Additional       · ts in those provisions hereof
                     where such express mention is not made.

                     Events of Default
                     If any of the following events ("Eve                 ) shall occur and be continuing:
  0
                     (a) the Republic fails to pay the princ            t of any Note when due and such failure continues for a
                     period of 30 days; or

                     (b) the Republic fails to pay ·
                     continues for a period of 30
  '.:J
                                                                                 or obligation contained in the Notes (other than
                                                                                   eement and such failure shall continue
                                                                                  ve been given to the Republic at the specified
                                                                                 I




 u                   (d) Banco Cen Jails to duly perform or observe any of its obligations contained in the Banco Central
                     Undertaking to re ) (as and to the extent provide therein) U.S. dollars in the amount of each payment of
                     principal of, and in ' st on, the Notes upon pa      t by the Republic to Banco Central of the necessary
                     Bolivares amount to ' e such payment, as pro ed in the Banco Central Undertaking, or on the
                     occurrence and continua ·· pf such a failure,     co Central shall make any withdrawal of any amounts
                     held on deposit with any ho        r the Fis    ent that has notified Banco Central of its intention to set off
                     from such amounts any amounts                  holder or the Fiscal Agent; or

                     (e) Banco Central shall fail duly to perform or observe any term or obligation contained in the Banco
                     Central Undertaking or the Fiscal Agency Agreement on its part to be performed or observed (other than
                     those specified in (d) above) and such failure shall continue unremedied for 90 days after written notice
                     thereof shall have been given to the Republic and Banco Central at the specified office of the Fiscal Agent
                     by any holder; or                                                                           ·

                      (f) as a result of any default or event of default contained in any agreement or instn.unent related to any
                     Public External Indebtedness (other than the Notes) of the Republic, Banco Central or any Governmental



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                     Agency guaranteed by the Republic, any party to such agreement or instrument accelerates or declares to be
                     due and payable any such Public External Indebtedness prior to the stated maturity thereof; or

    (I               (g) the Republic or Banco Central fails generally to pay or perform its obligations under Public External
                     Indebtedness as they become due, or a moratorium on the payment or performance of such obligations shall
                     be declared by the Republic or Banco Central; or
         .,.····

                     (h) there shall have been entered against the Republic or Banco Central a final judgment, decree or order
                     by a court of competent jurisdiction from which no appeal may be made, or is made, for the payment of
                     money in excess ofU.S.$100,000,000 or its equivalent and 30 days shall have passed since the entry of any
    (I
                     such order without it having been satisfied or stayed; or

                     (i) the Republic ceases to be a mem    . of the IMF or ceases to be eligible to use the general resources of
                     the IMF; or                                                         ·

                    (i) the validity of the Notes, the Fiscal Age        greement or the Banco Central Undertaking is contested
(I                  by the Republic, Banco Central or any le ·slati         ecutive or judicial body or official of the Republic
                    authorized in each case by law t                            or Banco Central denies any of its obligations
                    thereunder to any of the Notehol ers (whether by a gen           uspension of payments or a moratorium on the
                    payment of debt or otherwise), or any constitutional provis1         eaty, convention, law, regulation, official
                    communique, decree, or ·            r policy of the Republic, or        nal decision by any court in the
                    Republic having jurisdic ·            · to render any provision of th       tes, the Fiscal Agency Agreement or
C)                  the Banco Central Unde                       unenforceable or purports to prevent or delay the performance or
                    observance by the Rep                            of any of their respective obligations thereunder to any of the
                    holders; or

                    (k) any constitutional pr ·)ion, treaty, con ·ntion, law, regulation, ordinance, decree, consent, approval,
                    license or other authority n ·· sary to enabl      e Republic or Banco Central to make or perform its
                    obligations under the Notes, tli ti, · .. Agen ~greement or the Banco Central Undertaking (as the case
0                   may be), or for the validity or enforc ·· · ity · ereof, expires, is withheld, revoked, terminated or otherwise
                    ceases to remain in full force and effect, ·· pdified in a manner which adversely affects, or may
                    reasonably be expected to affect, any rights or ""'· Qf any of the holders;

                    then holders of 25% or mor _.~ ggreg              tanding princip · amount of the Notes may, by notice in
                    writing given to the Fiscal·      tat its spec· 1 · . ce, declare the Notes immediately due and payable
()                  whereupon the entire un          · cipal amount of       · otes, all interest accrued and unpaid thereon and all
                    other amounts payable in re        of the Notes shall        me and be forthwith due and payable, without
                    presentation, demand, protest        ., ex\ notice of any ki    all of which are hereby expressly ·waived by the
                    Republic. Upon such declaration, -~ .i~cal Agent shall          e notice thereof in the manner provided in the
                    Fiscal Agency             t to the Rep       ·    fa,csimil    th transmission confirmed) and to the holders of
                    the Notes in             · erewith. After any                tion, if all amounts then due with respect to the
                    Notes are      (other than amounts due solely because of such declaration) and all other defaults with
                    respect to ili otes are cured, such declaration · ay be annulled and rescinded by holders of more than
                    50% in aggr te outstanding principal amount the Notes by written notice thereof to the Republic at the
                    specified offic f the Fiscal Agent.

                    If an event of defau    escribed in subparagrap     ) or (b) hereof shall have occurred and be continuing,
                    Venezuela agrees to pa "tllin 30 days after        ipt of a demand therefor all reasonable and documented
                    out-of-pocket expenses of ·'        ers (inc    g, without limitation, all reasonable counsel fees and court
                    costs, stamp taxes, duties and fees          m connection with any reasonable investigation of any such
                    Event of Default or enforcement of the Securities.                                   ·

                    Prescription
                    Claims in respect of principal and interest will become void unless presentation for payment is made within
u                   a period of ten years in the case of principal and three years in the case of interest from the Relevant Date,
                    to the extent permitted by applicable law. "Relevant Date" means whichever is the later of {i) the date on
                    which any such payment first becomes due and (ii) if the full amount payable has not been received by the
                    Fiscal Agent on or prior to such due date, the date on which, the full amount having been so received,
                    notice to that effect shall have been given to the Noteholders.
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               Replacement, Exchange and Transfer
         n     If any Note is lost, stolen, mutilated, defaced or destroyed it may be replaced at the specified office of the
               Fiscal Agent or any Paying Agent subject to all applicable laws and stock exchange requirements, upon
               payment by the claimant of the expenses incurred in connection with such replacement and on such tenns
               as to evidence, security, indemnity and otherwise as the Republic may require. Mutilated cir defaced Notes
               must be surrendered before replacements will be issued.                                           ·

               Upon the terms and subject to the conditions set forth in the Fiscal Agency Agreement, a Note or Notes
               may be exchanged for a Note or Notes of equal aggregate principal amount in such same or different
               authorized denominations as may be requested by the holder, by surrender of such Note or Notes at the
               office of the Fiscal Agent, or at the office of an transfer agent, tog~ther with a written request for the
               exchange.

               Upon the terms and subject to the conditions set fo · .the Fiscal Agency Agreement and subject to the
               restrictions on transfer described below under "Tran        ·     ·ctions," a Note may be transferred in whole
               or in part in an authorized denominati                            ers surrendering the Note for registration of
               transfer at the office of the Fiscal Age or at the office of an        sfer agent, duly endorsed by, or
               accompanied by a written ins            of transfer in form satisfa ·,. to the Republic and the Fiscal Agent
               or any such transfer agent, as                be, duly executed by, t '· older or holders thereof or its
                                                                                           '·
               attorney-in-fact or attorneys-                 · in writing.
                                                               -~
                                                                    e or registration of transfer pursuant to the foregoing
                                                                      other than regular mail (if any) and except, if the
                                                                    ufficient to cover any tax or other governmental charge or
                                                                    n thereto, will be borne by the Republic.

                                                                         not register the transfer or exchange of Notes for a
    0                                                                     nt of principal of or interest on the Notes.

               Meetings and Amend·
               A meeting of holders of
               give or take any request, . d, authorization, dii ·o,n, notice, consent, waiver or other action provided
               by the Fiscal Agency Agre '                                 ' given or taken by holders of Notes or to modify,
    0          amend or supplement the te         ·. .the Notes or the Fis    ' ency Agreement as hereinafter provided. The
               Republic may at any time call a                                  .or any such purpose to be held at such time
               and at such place as the Republic                                ' very such meeting, setting forth the time and
               the pla f such meeting and in general                           oposed to be taken at such meeting, shall be
                        . provided in the terms of the Notes, not less      30 nor more than 60 days prior to the date fixed
                       . meeting (provided that, in the case of any meeting to be reconvened after adjournment for lack of a
  u                       such notice shall be given not less than 10 days nor more than 60 days prior to the date fixed for
               such ·eeting). In case at any time the Republic or the holders of at least 25% in aggregate principal
               amoun f the Outstanding (as defined in the F.·           Agency Agreement) Notes shall, after the occurrence
               and d ·         e continuance of any Event of D ult under the Notes, have requested the Fiscal Agent to call
               a meeting o e holders of the Notes for any ch purpose, by written request setting forth in reasonable
               detail the actio .,. oposed to be taken at th eeting, the Fiscal Agent shall call such meeting for. such
  u            purposes by giving' · ·ce thereof.

               The Fiscal Agent may make sue reasoI,1able and customary regulations consistent with the Fiscal Agency
               Agreement as it shall deem advisable for any meeting of holders of Notes with respect to the proof of the
               holding of the Notes, the adjournment and chairmanship of such meeting, the appointment and duties of
               inspectors of votes, certificates and other evidence of the right to vote, and such other matters concerning
 !,.)
               the conduct of the meeting as it shall deem appropriate.


                                                                                                                    in _ ~ -
               With (a) the affirmative vote, in person or by proxy thereunto duly authorized in writing, of holders entitled
               to vote the lesser of (i) a majority in principal amount of the Outstanding Notes and (ii) 66 2/3%


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                             aggregate principal amount of the Outstanding Notes represented and voting at a meeting duly called and
                             held as specified above, or (b) the written consent of the holders of a majority in aggregate principal
                             amount of the Outstanding Notes, the Republic and the Fiscal Agent (and, in the case of the Banco Central
                             Undertaking, with the agreement of Banco Central) may modify, amend or supplement the terms of the
                           . Fiscal Agency Agreement or the Notes and such holders may make, take or give any request, demand,
                             authorization, direction, notice, consent, waiver or other action provided by the Fiscal Agency Agreement
              .,,,····.
                             or the Notes to be made, given or taken by holders of the Notes~ provided, however, that no such action
                             may, without the consent or affinnative vote of the holder of each Note affected thereby, (A) change the
                             due date for the payment of the principal, or the portion of such principal amount which is payable upon
                             acceleration of the maturity, or for for the payment of any installment of interest, on such Note, (B) reduce
                             the principal amount of any Note, the portion of such principal amount which is payable upon acceleration
                             of the maturity of such Note, or the interest rate       eon or the premium payable upon redemption thereof,
                             (C) change the coin or currency in which payment            respect to interest, any premium or principal in
                             respect of any Note is payable, (D) reduce the propo            f the principal amount of the Notes the vote or
                             consent of the holders of which is necessary                         , r supplement the Fiscal Agency Agreement
                             or the terms and conditions of the Notes or            e, e or          any request, demand, authorization,
                             direction, notice, consent, waiver or other action provided here · r thereby to be made, taken or given, or
                             (E) change the obligation of the R           o pay Additional Amo            (as defined in "Taxation" and
                             "Additional Amounts"). Any s                    ·-. , amendment or sup · ent shall be binding on all holders
                             of the Notes.

                           The Republic and the Fiscal Ag                          of the Banco Central Un er.taking, with the agreement
                           of Banco Central) may, upon agr · ent among th elves, without the vote or consent of any holder of
          0                the Nofes, modify, amend or supple ·                    · gency Agreement or the Notes for the purpose of
                           (i) adding to the covenants ofVene                     ·efit of the holders of Notes, (ii) surrendering any right
                           or power conferred upon Venezuela, (iii) s           · _e Notes pursuant to the requirements of the Notes or
                           otherwise; (iv) correcting any defective provision          · .ed in the Fiscal Agency Agreement, the Banco
                           Central Undertaking or in the Notes; or (v) amending ili · al Agency Agreement or the Notes in any
                           manner which the Republic, B             traI and the Fiscal Ag , s the case may be, may determine, that
          0                such amendment shall not a · rsely              ·interest of any ho          ~otes in any material respect.

                            Notices
                                                                                             addresses and shall be deemed to have been
                                                                                              stream, Luxembourg will communicate such
                                                                                              practices. In addition, all notices to holders of
      0                                                                                        ed on the Luxembourg Stock Exchange and
                                                                                               general circulation in Luxembourg. It is
                                                                           ~~iiiiil          rger Wort. Ifpubllcation in accordance \\ith
                                                                       :                al.idly given if made in accordance with the


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                            Cur                                               :
                                   '
                            The U. \ . dollar is the sole currency of accoun d payment for all sums payable by the Republic under or
                            in conne , ·on with the Notes and the Coupo           eluding damages. Any amount received or recovered in a
                            currency o · 4han U.S. dollars (whether as            ult of, or of the enforcement of, a judgment, order of a
                            court of any j ·· , ·.ction or for any other rea ) by any Noteholder in respect of any sum expressed to be
                            due to it from the - ·· · ·c.. iµider any N           only constitute a discharge to the Republic to the extent of
    u                       the U.S. dollar amount w -. -·   u ·--        tis able to purchase in accordance with nonnal banking
                            procedures with the amount so received or recovered in that other currency on the date of that receipt or
                            recovery (or, ifit is not practicable to make that purchase on that date, on the first date on which it is
                            practicable to do so}. If that U.S. dollar amount is less than the U.S. dollar amount expressed to be due to
                            the recipient under any Note, the Republic shall indemnify it against any loss sustained by it as a result. In
                            any event, the Republic shall indemnify the recipient against the cost of making any such purchase. For the
    u                       purposes of this Section, it will be sufficient for the Noteholder to demonstrate that it would have suffered a
                            loss had an actual purchase been made. These indemnities constitute a separate and independent obligation


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                 from the Republic's other obligations, shall give rise to a separate and independent cause of action, shall
                 apply irrespective of any indulgence granted by any Noteholder and shall continue in full force and effect
                 despite any other judgment, order, claim or proof for a liquidated amount in respect of any sum due under
                 any Note or any other judgment or order.
     ...
       -·.".


                 Governing Law, Jurisdiction and Waiver of Immunity
                 The Fiscal Agency Agreement and the Notes are governed by, and shall be construed in accordance with,
                 the laws of the State of New York.

                The Republic agrees that any suit, action or proceeding against it or its properties, assets or revenue with
                respect to the Notes (a "Related Proceeding")            brought exclusively in the courts of England that sit
                in London; in the Supreme Court of the State o            ork, County'of New York; in the United States
                District Court for the Southern District of New Yor               e courts of the Republic that sit in Caracas, as
                the person bringing such.Related Proceeding may el~t                  le discretion, provided that if none of the
n               courts specified above located in the coun ·                               has elected to bring such Related
                Proceeding is a court that.has jurisdiction           ~ect matter              erwise competent under applicable
                law to hear and determine such.,        din , such Related Proceed1               be brought in such other court
                located in such country as                · ·ction of the subject matte             otherwise competent under
                applicable law to hear an                     elated Proceedings, or if su             ted Proceeding seeks relief
                or a judgment that is enfo eable only ag        any of its properties, assets o            ues that are subject to the
C)              jurisdigtion of any other c     located in th ·.untries listed above and is limi               e value of such
                properties, assets or revenu such Related          eeding may be brought in any su            ourt (all such courts
                described in this sentence be .called herein pecified Courts"). The Republic also agrees that any
                judgment obtained in any of th · . cifie!f Co ·~ arising out of any Related Proceeding inay be enforced or
                executed in any Specified Court o ·, ·· ·         ; of competent jurisdiction whatsoever, and any judgment
                obtained in any such other court as a re                      ment or execution may be enforced or executed
                in any such other court of competent jurisdic                         er than Specified Courts being herein called
0               "Other Courts"), by means of a suit on the judgment                         manner provided by law. The Republic
                hereby irrevocably submits to the exclusive jurisdiction of eac             e Specified Courts for the purpose of
                any Related Proceeding and solel~!!fPOSe of enforcing or executing any judgment referred to in
                the preceding sentence (a ~· lat         · ·       · ch Specified Court and each Other Court. The
                agreement made by the R ublic m this section                .ect to jurisdiction is made solely with respect to
                Related Proceedings ana                                       · lated Judgments and under no circumstances
C)              shall it be interpreted as a                                      ··. "th respect to proceedings unrelated to the
                Notes.                                                              ·

                 The Republic agrees that service o                   rocess and su onses in any Related Proceeding or any
                 suit, action or proceeding to enforce or                              . dgment brought against it in England may be
                 made upon the officer in charge of the departrn                    ·ar affairs at the Embassy of the Republic,
                 presently loc ed at One Cromwell Road, London S 7 2HW, England (the "London Process Agent") and
u                service of        ·ts, process and sununonses in any R lated Proceeding or any suit, action or proceeding to
                 enforce or e cute any Related Judgment brought a                t it in the State of New York may be made upon
                 the Consul       eral of the Republic or, in his or her a ence or incapacity, any official of the Consulate of
                 the Republic,      sently located at 7 East 51st Street, 'w York, New York 10022, U.S.A. (the "New York
                 Process Agent"          together with the London Proc Agent, the "Process Agents"), and the Republic
                 irrevocably appoin ·:· ~h Process Agent as its a           . o receive such service of any and all such writs,
u                process and swnmonse ,          -agr. es that the f: · , ·f any of the Process Agents to give any notice to it of
                 any such service of process            .          . . ect the validity of such service or of any judgment based
                 thereort The Republic agrees to maintam at all times an agent with offices in London to act as its London
                 Process Agent, and an agent with offices in New York to act as its New York Process Agent as aforesaid
                 (each such agent to be appointed by an irrevocable power of attorney hereto granted before a Venezuelan
                 notary public). Nothing herein shall in any way be deemed to limit the ability to serve any such writs,
                 process or summonses in any other manner permitted by applicable law.




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                   The Republic irrevocably consents to and waives any objection which it may now or hereafter have to the
                   laying of venue of any Related Proceeding brought in any of the Specified Courts or to the laying of venue
                   of any suit, action or proceeding brought solely for the purpose of enforcing or executing any Related
                   Judgment in any of the Specified Courts or Other Courts, and further irrevocably waives, to the fullest
      ...-·-~ .    extent it may effectively do so, the defense of any inconvenient forum to the maintenance of any Related
                   Proceeding or any such suit, action or proceeding in any such court.

                   To the extent that the Republic or any of its revenues, assets or properties shall be entitled, with respect of
                   any Related Proceeding at any time brought against the Republic or any of its revenues, assets or properties
                   in any jurisdiction in which any Specified Co · located, or with respect to any suit, action or proceeding
                   at any time brought solely for the purpose of e       · or executing any Related Judgment in any
                   jurisdiction in which any Specified Court or Othe            · located, to any immunity from suit, from the
                   jurisdiction of any such court, from attachm~n ··                  ent, from attachment in aid of execution of
                   judgment, from execution of a judgment ·                             or judicial process or remedy, and to the
                   extent that in any such jurisdiction ther                                inununity, the Republic irrevocably
                   agrees not to claim and irrevocably waives such immunity to               est extent pennitted by the laws of
                   such jurisdiction (including, wi --       · tion, the Foreign Sove                unities Act of 1976 of the
                   United States) and consents g                  purposes of the State I          ·ty Act of 1978 of the United
                   Kingdom to the giving of an                       of any process in conn          · with any Related Proceeding
                   or Related Judgment, provide                        nt and waiver, insofar as         ates to any jurisdiction other
                   than a jurisdiction in which a                     ~ated, is given solely for the purpose of enabling the
 0                 holders of the Notes to enforce                      d Judgment. In addition, to the extent that the Republic
                                                                        entitled, in any jurisdiction, to any immunity from set-
                                                                         d to the extent that there shall be attributed, in any
                                                                          ·rrevocably agrees not to claim and irrevocably waives
                                                                                  f such jurisdiction with respect to any claim,
                                                                                         ection with the Notes.
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                                               ABBREVIATIONS

           The following abbreviations, when used in the inscription on the face of this instrument,
           shall be construed as though they were written out in full according to applicable laws or
           regulations:

           TEN COM - as tenants                            UNIF GIFT
Cl                 mcommon                                 MIN ACT-            Custodian
                                                              (Cust)        (Minor)


           TEN ENT - as tenants by
                    the entirety
Cl

           JT TEN - as joint te
                     right of
                     not as te




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                                                              CURITY OR OTHER
0
                                                               OF ASSIGNEE




u
                                                      ewrite name and address
                                                    tal zip code of assignee


u          the within note and all rights thereunder, hereby irrevocably constituting and appointing
           -----------                       attorney to transfer said note on the books of the Issuer,
           with full power of substitution in the premises.




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                        Dated:
      n
                                        NOTICE: The signature to this assignment must correspond with the
          ...--.~ .     name as written upon the face of the within instrument in every particular, without
                        alteration or enlargement or any change whatever.




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